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                            UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA


    NEW MEXICO CATTLE GROWERS’
    ASSOCIATION,

                                                 Plaintiff,   Civil Action No. 1:21-cv-3263-EGS

       v.

    UNITED STATES FISH AND WILDLIFE
    SERVICE, et al.,

                                       Federal Defendants,

    CENTER FOR BIOLOGICAL DIVERSITY;
    MARICOPA AUDUBON SOCIETY,

                                 Defendant-Intervenors.



                  PLAINTIFF’S MOTION TO COMPEL COMPLETION
                       OF THE ADMINISTRATIVE RECORD

       Pursuant to Federal Rule of Civil Procedure 7(b), LCvR 7, and this Court’s May 6, 2022,

Minute Order, Plaintiff New Mexico Cattle Growers’ Association (Cattle Growers) respectfully

moves this Court to compel completion of the administrative record, with two documents. The

documents are (1) Email from Gjon Hazard, Fish & Wildlife Biologist, U.S. Fish & Wildlife Serv.,

to Angela Picco, et al. (May 9, 2017, 5:04 PM) (the “Hazard Email”), attached as Exhibit D to the

Declaration of Damien M. Schiff (Schiff Decl.); and (2) Email from Greg Beatty, Fish & Wildlife

Biologist, U.S. Fish & Wildlife Serv., to Gjon Hazard, et al. (May 15, 2017, 11:15 AM) (the

“Beatty Email”), attached as Exhibit E to Schiff Decl. (together, the “Emails”).

       The Emails are properly part of the administrative record and should be included and

reviewed by the Court, in this case.


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       This motion is based on this motion to compel completion of the administrative record; the

accompanying statement of points and authorities; the accompanying appendix; the declaration of

Damien M. Schiff and the documents attached thereto as Exhibits A–F; the documents previously

filed in this action; and any other material the Court may consider in the briefing of this matter.

       Pursuant to LCvR 7(m), Counsel for Cattle Growers has contacted counsel for the Federal

Defendants, and counsel for Defendant-Intervenors, to solicit the parties’ positions on this motion.

The Federal Defendants oppose this motion. The Defendant-Intervenors take no position.

       DATED: August 17, 2022.

                                                        Respectfully submitted,


                                                      /s/Damien M. Schiff
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                 Attorneys for Plaintiff New Mexico Cattle Growers’ Association




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                                CERTIFICATE OF SERVICE

       I certify that I electronically filed and served the foregoing with the Clerk of the Court for

the United States District Court for the District of Columbia using the CM/ECF system.

                                                 /s/ Damien M. Schiff
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                                                 Counsel for Plaintiff




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